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  7                           UNITED STATES DISTRICT COURT
  8         CENTRAL DISTRICT OF CALIFORNIA — SOUTHERN DIVISION
  9 TIMOTHY T. MERRITT JR. &                      Case No. 8:18-cv-01960-JVS-(JDEx)
    CATHY MITCHELL,                               Hon. James V. Selna
 10                                               Ctrm. 10C – Santa Ana
            Plaintiff,
 11                                               ORDER GRANTING
        vs.                                       DEFENDANT’S REQUEST TO
 12                                               APPEAR TELEPHONICALLY AT
    WELLS FARGO BANK,                             MOTION TO DISMISS HEARING
 13
            Defendant.                            Hearing Date:   December 10, 2018
 14                                               Time:           1:30 p.m.
                                                  Ctrm.:          10C
 15                                               Judge:          Hon. James V. Selna
 16                                               Action Filed: September 21, 2018
                                                  Removal Date: October 31, 2018
 17                                               Trial Date:   None Set
 18            The request of Defendant Wells Bank, N.A.’s counsel to appear
 19 telephonically at the Motion to Dismiss hearing is GRANTED.          Counsel shall e-
 20 mail the Clerk (Karla_Tunis@cacd.uscourts.gov) with the phone number where they
 21 may be reached on Monday, December 10 at 1:30 p.m.
 22            IT IS SO ORDERED.
 23
 24
 25 DATED: December 6, 2018
                                           HON. JAMES V. SELNA
 26
                                           UNITED STATES DISTRICT COURT
 27
 28
      07685.2150/12359281.1                                             8:18-cv-01960-JVS-(JDEx)
                                                               (PROPOSED) ORDER OF DISMISSAL
Case 8:18-cv-01960-JVS-JDE Document 11 Filed 12/06/18 Page 2 of 2 Page ID #:67




  1                                   PROOF OF SERVICE
  2        At the time of service, I was over 18 years of age and not a party to this
    action. I am employed in the County of Orange, State of California. My business
  3 address is The Atrium, 19100 Von Karman Avenue, Suite 700, Irvine, CA 92612.
  4            On December 4, 2018, I served true copies of the following document(s):
  5            (PROPOSED) ORDER GRANTING DEFENDANT’S REQUEST TO
               APPEAR TELEPHONICALLY AT MOTION TO DISMISS HEARING
  6
      on the interested parties in this action as follows:
  7
    Timothy T. Merritt Jr.                          Plaintiffs, In Pro Per
  8 Cathy Mitchell
    20122 Pioneer Blvd., #A                         Telephone: (562) 278-6708
  9 Cerritos, CA 90703                              cathymitchell875@gmail.com
 10        BY MAIL: I enclosed the document(s) in a sealed envelope or package
    addressed to the persons at the addresses listed in the Service List and placed the
 11 envelope for collection and mailing, following our ordinary business practices. I am
    readily familiar with Severson & Werson's practice for collecting and processing
 12 correspondence for mailing. On the same day that the correspondence is placed for
    collection and mailing, it is deposited in the ordinary course of business with the
 13 United States Postal Service, in a sealed envelope with postage fully prepaid.
 14        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
    the document(s) with the Clerk of the Court by using the CM/ECF system.
 15 Participants in the case who are registered CM/ECF users will be served by the
    CM/ECF system. Participants in the case who are not registered CM/ECF users will
 16 be served by mail or by other means permitted by the court rules.
 17        I declare under penalty of perjury under the laws of the United States of
    America that the foregoing is true and correct. I declare that I am employed in the
 18 office of a member of the bar of this Court at whose direction the service was made.
 19            Executed on December 4, 2018, at Irvine, California.
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 21                                                            /s/ An Le
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      07685.2150/12359281.1                                                  8:18-cv-01960-JVS-(JDEx)
                                                                                 PROOF OF SERVICE
